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EXhibit 2

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._ New Fax Message from (602) 771-8000 on 04/18/2013 at 11:08 AM ' Page l of 2

New Fax Message from (602) 771-8000 on
04/18/2013 at 11:08 AM

From: "RingCentra|" <notify@ringcentra|.com>
To: "Mlchael Flower" <s.mflowers@yahoo.com>
Subject: New Fax Message from (602) 771-8000 on 04/18/2013 at 11:08 AM

Sent: Thu, 18 Apr 2013 18:08:21 -0000 _

You Have a New Fax Message

From: MMSOOO

Received: Thursday, April 18, 2013 at 11:08 AM

 

Pages: 13

To: m3969 (Michaei Flower)

To view this messag'e, please open the attachment or login to your
RingCentrai account by clicking he_r_e.

Thank you for using RIngCentral.

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i,@:iii:; §i;i:r§;+-.I?.:-':iuii'aiii ;:;[:zz`ea(ftii€=. Word and get§ 250 _ § _1933:0:‘1tii's£11ii .

 

 

 

[~- Mime Part, Type: application/pdf, Disp: attachment; fi|ename=lmSOOO-0418-110808-
077.pdf", size:. 237KB --] ‘. ‘

 

X-RocketMail: 00000001;R---S ----------- ;1160 v
X~Apparently-To: _ s.mflowers@yahoo.com via 98.138.88.147; Thu, 18 Apr 2013 18:08:22
Retum-Path: ` <notlfy@ringcentra|.com> -

Received-SPF: pass (domaln of ringcentra|.com designates 199.255.122.44 as permli:i

NzchTgwMDAgUmVjZW|ZZWQSIFRodXJzZGFSLCBBcHJ prAxOngMjA
dCAxMTowOCBBTSBQYWd|czogMTMgVGS€ICg4NchIDYzMiOzOTYSIChl\
IH RoZSBhdHRhY2htZWSOIGQyIvaZZluIH RvIHlvdXIgUmiuZONlbnRvai.
ZXhOLZhObWwDAzQCMTYwMjc3 MTgwM DAtMDQxOCOxMTA4MDgtMDc3|

X-YMailISG: GaBw8XgWLDuwG558diXStMSjorydeTWMfthBOxIddesa ec54c.ckJ
Dwa6zDgJ hS3chxX.Gva9tedNWtw6vFKJnXUOtyAchvleAMZqW4FJ
zngjawai4thl8quE2ToA0vBF__Zir83an8232j19V4aQn8TMFFKYeLgvi
cNJDdJZN4.qu HQDchCdZ3mqVBlj70xV.lut3.qqdmlpGu_Km.LTV8rDh|\
s3ucRRNppm`fNohm1yXuPchn_KYLvomJPxUPeCBKOyzZUlIbFaLyiltNE_
GURW1547C'TQGzinuU9mAwZUvivKA2g wamTSEWZEtVNWBtcaBLDK.‘
EZDHrzzsrCSjUdeQu|SWxiSdNmyaJGn3gZOT.ASd351cwE42U3u_VBokI
r_snMYSdeDJdery|BGycf5V9BOSF2_cW67_1ftG66A.AFROWIsShooIa_885:

_ VzQyVL0U3hbRyYQDmi3QS__tKC26NRV_`76FIeOAOOakaOSTOm64ddG;'

tile://D:\Report\iiles\entry _pBRH@<FFrE€l/S]FW E 0 R D E R - .7/2|'§"0'(:'_03360

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.- New Fax Message from (602) 771-8000 on 04/18/2013 at 11:08 AM Page 2 of 2

y9rhTBaZhV3afbhDIxxI9ijszAxr4thka|cRSsSWgUD.IDrjAhyN.nNFw

/ IWnko4quhbth.NH__QBueX7ka1QNRh.JEsmozBBIFONyHOGShs7p3o
K\ . XnPumWPCprQQPObpuBvaSISAONasH¥WrxSXmOYlHMaHthAerRmU
\///` § 1quK6_t2uMJCObYt_n1lRyIcLQU6G5j6mCuKUG9NdeTeAXZQQb3dQ\/
Lth8d2UUIGcSbtiQOorN9GyKODyOvapFYewrdMEDXWSSiWWd4gHlaBF
' KTiV7IcSBu`QchdKwaSZstZMVtJmurbedyfbAYKibn8cpv_Ava3Dch
X-RocketMSGID: 1366308502.657.43635@mta1456.mai|.ne1.yahoo.com#O
X-Originating-IP: ' [199.255.122.44]
Authentication-Results: mta1456.mail.ne1.yahoo.com from=ringcentral.com; domainkeys=neu
Received: from 127.0.0.1 (EHLO sjalrei04.ringcentral.com) (199.255.122.44) b‘
Received: from Ringcentra| (sja1-c01-|br00 [19_9.255.122.10]) by sjalre|O4.rin
Thu, 18 Apr 2013 18,:08:21 +0000 (GMT)
_X-DKIM: Sendmail DKIM Fiiter v2.8.3 sja'lrel04.ringcentra|.com 91C1E24F70F
DKIM-Signature: v=l; a=rsa-shal; c=simple/simp|e; d=ringcentra|.com; s=mai|; t="13€

ID:From:To:Subject:Dat_e:MIME~Version:Content-Type; b=i8MF1a4oM[
NXaMIdZLIBCfFGIWU35defG2Kono/IOpuMQdOAGH+Inb.\/6q2$s¥UJ MZ\

Message-ID: <3815102-22013441818821798@Ringcentral>

X-Priority: l 3 `

MIME-Version: 1.0

Content-Type: ,muitipart/mix»ed; boundary="----=_NextPa rt_18775111818182265118
Content~Length: 232746

 

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CaSe 2:17-cr-OO732-S.]O Document 62-2 Filed 05/21/18 Page 4 of 16 Page |D #:374
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PROTECT|VE ORDER PCC-03362

CaSe 2:17-cr-OO732-S.]O Document 62-2 Filed 05/21/18 Page 5 of 16 Page |D #:375

 

 

   
    

DAApr 18. 2013/12. 03PM STATE IDENTIFICATION RESULTS 3;10.6736 P. 2
111/11:08 14 00 4 1NM11)01
f SSN: ”6962 LATEST QTR 0N FILE ls_ 20124 '
((\ 1110 SSN YQU ENTERED HAS wAGES 1N THE .FoLLOWING sTATES;
\_"\_/ 'ST: '_-'
cOMMAND ENTRY ===> . _
1NM1001 INQUIRY cLAIM INFORMATION 08-: 05:07 04/18/13
SSN q1“1.287. 31 cURRENT PROGRAM: REG MORE +
_ EFF 01/13/13 BYE 01/11/14
. - _ F wBA ss 377 MBA $ 9802
' RD ' §SLFM §3§3§/33` 125 00;00;3*
.i.. . 0
_ ' CA _ EB ******** TRA ******#*
- ' LO_` 1450 ` -» EXT ****'*=i=**
__wF.mc `DATE ' `_PMT AMT_ l _wEEK DATE _`PMT AMT_'
00/00/00. 01/30/13 AcRo . .
01/26/13 - .01/30/13 § ' 0,0.0
01/19/13 01/30/13 0.00
___ ___ ........_ -_- __.._. ___ .._.... '. ._____, ___,___'__, ____L___ _m _ __ _"_-. `_._ _ .__.__” ._‘_ __
cow/lawn ENTRY ===> ' .
MHBS ST INQUIRY wAGE INFORMA'L‘IoN 08:05:45M3%1371§

( ' SSN

/31>(1]§ l MPLOYER___._ _11~4_ _12-1_' __12~2_ __12-3 12-4_ _13_1
, G .r 0 0 0 6 " 0 `
_ <2) 0 .0 o

n __ C 917 9004 9324 8906 9751

    
 

~""'_'_---.. __ ______

MMAND ENTRY ===> ~ - .
_`C?NMIQ , ' INQUIRY WAGE INFOIMATION 0_8:05:31 04/18/ 13
` SSN: 128 ST: CA _ - MORE_ ~ +
"OPT ~ LOYER+___ __411- __12-1_ _12~2_ _12~3»_ ___12-,4_ __13-1_
_FENCING BY 0 0 0 7100_ .7656
_FENCING BY 0 0 1103 0. . 0
_INGR.AM MIC 6974 6798 5591 0 0

COMMAND ENTRY ===>

    

1NM1002 INQUI`RY wAGE 1NFOm1ATIoN ` ' z -
_ SSN “0021 ST: cA . 08 04`321181‘§1{:18£1§
')PT ____EMPLOYER_______‘*_ ;11~4_ __112- __--12 2_____12_3_1_-2~4__13-‘1
\_,' 3 15543 1004€j 1004§ 14926 _14307 `
\/; L 0 0 0 10201 1
\W;' A 15549 16044 16044 5348 530(2)

PROTECT|,VE ORDER PCC-03303

CaSe 2:17-cr-OO732-S.]O Document 62-2 Filed 05/21/18 Page 6 of 16 Page |D #:3'76""'

-D¢Apr. 18. 2013/12:03PM STATE ID . . ~

TIME: 08:12:49 l `_ENTIPICATION RESULTS §MH¢I§(B)§L P. 1
_ sSN: -3723 LATEST QTR oN 1110 13 20124
(/\\ 1110 SSN YoU ENTERED HAS wAGEs 1N THE FoLLowING 3111113;
4 ST: __

 

 

___ _ _ _ , _ __________ .__, .,-w-»“.. '.¢ .. . ~- ... ... .w . .. _.... ._.. ___ _a _ ___
_. .. . . ._ , .. ..__ ..

C(I)WW&ENTR :==> INQUIRY wA INFO n '

' GE RMATION ' 06:13:58 04 1
SSNr-mozl ST.: cA MOR_§ 802
OPT MPLOYER _11-4~ __12-1_ ___12-2_ __12-3_ __1~2-4_ _13-1_

3 T ' 3747 3270 3436 3919 432
ms 0 0~ _0 0 0

` _____ ,_,___ __ ,,,__..._,_.N .._-.. ___ ._ -_ _... _~ ._. _

   
    
  
 

 

TRY ==_'._.'>- _ ~ ' v
CYLN%?ND EN INQUIRY wAGE INFORMATION 06:~18:35 04/18/13
SSN: 1 '0525 ST: CA ~ MORE - +
oP_T § MPLOYER_______ _11-4_ _12~1_ _,12-2_ _,_12-3_ __12-4_ __13-1,_
TH . . 7620 7440 8026 7366 0
` 0 -. 0 0 1473 8839
MMAND ENTRY ===> _ ' ~
aj . _ _INQUIRY WAGE INFORMATION ' 08:04_:17}118£4{,§13/1)3f
' _11-4_ __12-1_ _,12-2F _12-3_F _12~4_ _13~1_
5344 0 ’ 0 ~ o ~ o ,

 

18312 16043 20154 22030 25422

~ ..¢_ - ._.. __._ __. ._ ..._ -- - .-. -.. '---~__- _--.»... ___ __ ___ .,.__.

DATE: 04/13/13 STATE IDENTIFICATION RESULT_S 3101

TIME: 08:11:44 ' ' »INMIDOl
ssN: .4971 ` LATEST ole oN FILE 13 20124
THE SSN YoU ENTERED HAS WAGES 1N 1111 FoLLowING sTATEs: §
ST ,..._ _ :' `

- 4 3101
Y,I§§§§ g§{é§{é§ 4511'111. 1DENTIF10A110N'RESULTS' INMIDol
SSN; - 4659 .- LATEST QTR oN FILE 13 _20124

' . THE SSN YOU ENTERED HAS WAGES IN 'l`_HE FOLLOWING STATESi

PROTECT|\/E ORDER PCC-03364

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D/Apr. 18 2013/12§041111 3111111 1011111111
33N1 W’Szez_e - LATEST QTR 0N FILE 13 20124
§§ 1113 33N You EN1ER31) 1013 wAGES 1N jan FoLLowING STATES:
\'_-_,./ ST: . '

------_....._.____.. ,.____ ..__ -, __».~ - ___---v-- .__ . ._-.

commme ENTRY. ===> ' ` '
1 . 111001117 wAGE 1NFoRMA110N 03:00=43 04/13/13

 
   
 

 

INM
33N:. 3300 31: cA MORE _ 1
PLOYER_'___.`,_ _11'~4_ _12"1_ _12~2_ ____12~3_ __12"4,_ __13"1_
_ 4031 5249 y 15 0 o
_ A 0 _ - 0 4323 7303 3575
ooNMWBBZENTRY'===> . - . .
INQUIRY wAGE - -
SSN: I;WT 3 INFORMATION 00.19.31M3§§13{1§
0P1 LOYER H__11-¢`1__112- 12.-2 ,_12-3 _12~4 _13-1
__ GR.§S , 33907 34403 32291 33996 3556'3' "
C?MgngNTRY '==> 41NQUIRY wAGE 1NFOR'MA1"10N n /
/ 06:19:43~ 04 13 13 .
SSN: *595 ST: MORE ./. +
EMPLOYER 11-4~ 12-1_ 12-2 _~_12-3_ __12-4_ _,13-1_
0 0

_ PSC-A ' "` 2955 `“ 0 _ 5

¢- J_. _n, ___

.¢-__

comm/mn ENTRY ===>

 

INMIQOJ, INQUIRY CLAIM INFORMATION 08' 06- 16 04/18/13
SSN! N*'6010 ST¢ CA CURRENT PROGRAM- REG MORE
` ' EFF 09/23/ 12 BYE 09/21/ 13
wBA $ 409 - MBA $10634
1 BAL $ 940.00 OP #*****#4=
_ ' DQ FM 12/ 30/ 90 ~ TO 04/ 17/ 92
LOS .ANGELES CA MOOOO EB ******** TRA vlnl‘**=k*a_=a=
I_D_ 0060 EX_T #w***=hn-#
_,_WEEK.___...DATE__,______,__PMT AM'I`__ __WEEI( DATE PNIT AM'I`__
04/06/13' 04/08/13 $ 407 00 02/09/13 02/12/13 v `$ 398. OO
` OO/ OO/ 00 04/ 08/ 13 ACRO 02/02/ 13 02/12/13 380. 00
03/30/13 04/08/ 13 $ 398 . 00 01/26/13 01/29/13 §§§ . 38

03/16/13 03/26/13 $ 01/12/13 01/14/13 $ 380.00

,, _, 03/09/13 03/11/13 3 01/05/13 01/14/13 353.00
= 03/02/13 03/11/13 389.00 380.. 00

\a 02/23/13 02/26/13
. 02/16/13 02/26/ 13

i " }\1/\/\ rr‘r\ c‘m'.~ ul)\r‘r,‘ nmn'r“rm‘-'r~'

12/29/ 12 01/03/13
12/22/ 12 01/03/ 13
12/15/12 12/24/ 12

328 . 00

|
l
' 03/23/13 03/26/13 $ 407.00 § 01/19/13 01/29/13
l
§
\ 380.00

PROTECTIVE oRDER l Pcc-03365

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~DApr. 18. 201312: PM . (~ .
T/IME: 03113{1804 313/113 IDENTIFICATION RESULTS 3110.6136 P. 5
1NM1Do1
SSN: -'/748 ' LA1331 013 011 3111 13 20120r `
11 1113_3311 You ENTERED _HAS wAGE3 1N 1113 FoLLowING 311133:
\\/, ST: __
coMMND ENTRY =`==> -' ~ _
1N1111001 1NQUIRY _cLAIM INFoRMATION 03 06: 03 04/13/13
33N: Moosv 31 CA ~ cURRENT PROGRAM: 1130 MORE
- ' - §§ 3°6§‘13/12 111 061°§£5231
_ ~ BAL $ 367.00 OP =k#a¢=v*=\<*>r
_ - 110 FM 11/16/03 ~ 10 12/04/09
SACRAMENTO' CA _ EB~ *=x<***w** TR_A #*#*=1¢***
` . . LO 0410 EXT >r**#***#
__wEEIL DATE ~ 3111 1111:_|_\13311 DATE 1111 AMT._
~04/06/13 04/13/13 147. 00 1 02/02/13 02/12/13 103.00
03/30/13 04/16/13 . 319.00. 1 01/23/13 01/31/13 03.00
03/23/13 04/04/13 1 319.00 .| 01/19/13 ~ 01/31/13 . 131.00
03/16~/13 04/04/13 130.00. l 01/12/13 _01/17/13 § 157.00
03/09/13 _03/11/13 130.00 _01/05/13 01/17/13 164.00
03/02/13 03/11/13 $ 157-.00 |l ‘12/29/12 01/03/13 161.00
02/23/13 02/25/13 157.00 1 12/22/12 01/03/13 134.00
02/16/13 02/25/13 117.00 1 12/15/12 12/17/12 103.00
02/09/13 - 02/12/13 107._00 1 12/03/12 12/17/12 3 157.00

   

______ ______ _ ___ ____._._,_ ___. ___-. . . __
». ___ ___ .
___ _____ ___,_.____ ,_ *_ _
.

omMAND ENTRY ===>

1le 2 ' INQUIRY WAGE 1NFOR111¢1110N 1 08:07`:13 04/13/13

33N: 431 31 ' 1033 - +

0P1 LOYEK__,_____ __11~4 12-1#_ __12~2 __12¢3__ __12~4 4 13~1
E 0 347 1712 2571` ~ 6 " "-

.._.. . _¢ __ ____. ____..__

cOMMAND ENTRY ===$

 

INMIQO . .
O§§N'_ E 52318T INQUIRY WAGE INFORMATION 08; 07; 02M34/18/13
MPLOYEI&_'_ _]_1_4 12__1 _12__2_ _12
4~ - -3_ 2_- _
__DIVERSIFIE 7444 7972 7397 7063 `1""77§§ -~13 1_
113 04 12/13 311/113 1DEN1111CA110N 3330113 3'11)1
1113 03/'13 34 . 1N1111)0_1
_ 33N:__1W-6950' . ‘ 111331 1113 0N 3113 13 ' 2012¢1
.'1113 33N You 31113310 1113 wAGES 111 1113 FoLLow1NG 3111113;
W' .
il`;;/§’T: "“'
\/

PROTECTNE ORDER 1 ~ P¢C-03366

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-. Apr.18.201312=o4PM ~ No.me P.'e I/' 6
{7”//@“//@ _ //” 7

/';' _.-1
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/Y/V/A) 621/b
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PROTECTl\/E ORDER Pcc.-Mw

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Apr.18. 2013-12:05PM ' No.’6736 P. 7
COMMAND ENTRY ===> ~ _

INMI 2 INQUIRY wAGE INFORMATION . Qa:49:00 04/18/13
SSN:HSO‘L ST: CA MORE - +
§ OPT E LOYER,___.__ __11-4_ __12~1__ ___12-2_ __12-3_ _12-4a __13~1_
\_;___...»S_ _ LL 2975 0 0 0 - 0 .

/,_ MES 0 13400 12454 13183 14_270
cOMMAND ENTRY ===> _

.INMIQO v INQUIRY -EMPLOYER INFOMATION 10 :746:58 04/18/13

sSN: 4298 ST: Tx~ ' _ -

- QTR WK _ WAGES USED
7 ECURITY SERVICES LLC 11-4 8953.81 . '
- _ 12-1 . 7829.79 '
NH _ 12'2 7856-19
. 12-3 5966.20
12-4 y 7063.36
13-1 - .

LAST NAME! DAVIS, J

PROTECTl\/E ORD-ER ' PCC-OBQ,'@S:

CaSe 2:17-cr-OO732-S.]O Document 62-2 Filed 05/21/18 Page 11 of 16 Page |D #:381
No.<)m) "_»' f "'/*/

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PRO‘TECT~|VE ORDER PCC-033'69

CaSe 2:17-cr-OO732-S.]O Document 62-2 Filed 05/21/1§ Paqe 12 Of 16 Pacle |D #:382

S~_Ng._.-ms P. 9
1NM1001

20124

' D-_Apr 18 201312:05PM d
Du.A v/v STATE I T FI
TIME 09 08 58 DEN l CATION RESUpTS

SSN: -0357 LATEST 013 0N FILE 13
:\ 133 33N You ENTERED HAS wAGES 1N 133 FoLLowING STATES:

ST:

COMMAND ENTRY ===> -
09: 16: 35 04/13/13

 

 

  

 

1NM1001 INQUIRY cLAIM INFORMAFION
.33N: M1941 31 §§§REN§§;§Q§§AM REG MORE +
3 BYE 02/22/14
- - .WBA 450 MBA 117
_ 13 1133 MY,..,,*QQ
STOCKTON CA MM$O?' EB *=k=¢~+*#** ' :£SA 22139£99
‘ - 0 8500 EXT *s=='k=k*u¢=¢¢$r
_MMK _uu® _JMTMH_ 3
04/03/13 04/15/13 3.130 00 l w EK DATE PMT AMT~_ .
03/27/13 04/12/13 » 3333. 00
03/13/13 03/27/13 90. 00 l
03/06/13 03/27/13 113. 00
02/27/13 03/26/13 0 00 l
._.-.. _ . ._.. . ..__-__ _._ .._ _L_____ _ _._-.
/*' COMMAND ENTRY~===>
\ 1NM100 1~ _ \ INQUIRY CLAIM INFORMATION 09 14 53 04/18/13
SSN: 30 31: CA CURRENT PROGRAM REG MORE
_ EFF 12/23/12 BYE 12/21/13
0 _ - 0 wBA 3 369 MBA $'9'444
_ 'BAL $4061.00 GP §m*a=*»w*
”’ “*" DQ FM 03/14/11 10 09/12/12
_ CA- EB m
~ ' ' LO 0210. . EXT #*****w
wEEK,~__DATE PMT AMT__ l __;wEEK __DATE_` PMT AMT,_
03/30/13 04/12/13 $ 309.00 l. 01/26/13 03/20713 369.00
03/23/13 04/12/13 $ 339.00 01/19/13 03/20/13 369.00
03/16/13l 04/12/13 369.00 l 01/12/13 03/20/13 $.339.00
03/09/13 04/12/13 369.00 l 01/05/13 01/17/13 150 00
03/02/13 04/03/13 3 369.00 12/29/12» 02/11/13 . . 369.00
02/23/13 04/03/13 § 369 00 l 12/29/12 01/17/13 436.00
02/13/13 04/03/13 332.00 l _ ~
02/09/13 04/03/13 $ 332 00 l
02/02/13 03/20/13 3369. 00
DATE: 04/13/13 31A13 133N11F10A110N RESULTS 3101_
TIME: 09 11 02 1NM1001
_ _33N:*3_237 LATEST.QTR 0N FILE 13 20124`
/. 133 SSN YOU ENTERED HAS wAGES IN.THE FOLLOWING 31A133;
~W°T ~ ' `
\»/<L"
PROTECT|VE ORDER PCC-03370

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DAA_p_r. 18_. 201_.3/12_05PM 31A13103N11310A110NRBSU 3 'N.6736 P.
1013 09 09: 12 LT §Nl:m)ol 10
33N:M 3303 131331 013 0N.311,3 13 20124

1 -THE SSN YOU ENTERED HAS WAGES IN THE FOLLOWING STATES:
ST: __ `

COMMAND ENI`RY ===>

mm .. . INQUIRY cLAIM 1N303MA110N ` _ 09:14:30 04/13/13
QMMS§ 31 cA cmeRENT PROGRAM:~ 33 MORE +

 

 

 

 

. SSN: .
EFF 03/23/12 BYE 03/23/13
_. w .WBA $ 450 MBA 36300
* 333 3333/33 3 3333
RANCHO CoRDovA CA w B 10/21/12 . TRA 00/00/00
. ~ E:0 0210 ' EXT 00/00/00
,_wEEK DATE PMT AMT l _wEEK J)ATE PMT AMT_
12/01/12 12/03/12 0 00 l 09/29/12 16701/1-2 - $ 333 00
11/24/12 12/03/12 333.00 l 09/22/12 10/01/12 333. 00
11/17/12 11/19/12 333.00 l 09/15/12 09/17/12 333.00
11/10/12 _ 11/19/12 $ 333.00 09/-03/12 09/17/12 333.00
11/03/12 11/05/12 333.00 l 09/01/12 09/03/12 - 333.00~
10/27/12 11/05/12 333.00 | 03/25/_12 09/03/12 1 338.00
10/20/12 10/ 29/ 12 ‘ 333.00 l 03/ 18/ 12 03/20/12_ 333.00
, 10/13/12 , 10/15/12 3 333. 00 l 08/11/12 08/20/12 333.00
,- 10/06/12 10/15/12 ' 3 333 00 l 03/04,/12 03/07/12 3 333.00
" DAT];; 04/13/13 31113 IDENTIFICATION 33301,13 3101
11M3 09'03-23 _ 1NM1001
33N W/;ls LA1331 013 0N FILE 13 20124c
1113 33N YOU ENTERED HAS wAGES 1N 1113 FOLLOWING 31A133':
31= _.
DA13.04/13/13 31A13 103N11FICA110N 11330113 3101 y
TIME: 09 16: 06 INM1001
33N: _0027 LA1331 013 oN 3113 13 20124 '
1113 SSN YOU ENTERED_ HAS WAGES~ IN 1113 FOLLOWING STATES:
ST: __ d
DATE:' 04/13/ 13 STATE IDENTIFICATION RESULTS 3101 .»
TIME' 09' 15‘ 53 INMIDM
33N 1_32351¢11331 013 0N 31le 13 20124
1113 33N YOU ENTERED HAS WAGES IN THE FOLLOWING 31A133:
PROTECT|VE ORDER PCC-03371

CaSe 2:17-Cr-OO732-S.]O Document 62_-2 Filed 05/21/18 P_age140f 16 nge |D #:384

' DAAD!.18 201_3/12' 06PM S]y[n£ I ' 4 '-

TIME 09. 09 25 03111111101111011 333111.13 31.\111§[.1%73£ P. 11
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/ 11 1113 33N 1011 ENTERED HAS 111/1033 111 1113 FoLLowING 311133:

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COMMAND ENTRY ===>
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SSN ch
. " ' EFF 02/10/ 13 BYE_ 02/08/14
wBA $ 93 , MBA . $ 2413
.. ,,3,,4', BAL $2046.00 OP *****#**
` l " " DQ FM 01/01/12 ' TO 12/27/12
YUBA CITY "1 EB ******m* TRA #**¢##**
1 ' . LO ' 1450 EXT »1‘**#31¢=¢=11#
WEEK _DATE _,WEEK__,_DAIE _ _ PMT AMT__

03/09/13 -04/03/13
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02/16/13 03/25/13

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RY ===> . . "
C_CI)MS&E.NT 1N0UIRY wAGE INFQRMATION 09.10.10M8§é13{1§
OSSN w ~_d__EMPLoYER _,_11-4_ 12-112~2_ ,_12~3_ __12~4_ _13»1_"
OOWENS 113/11 5336 5170 7303 7110 4041
CITY 03 33 0 0 0 0 5603
:COUNTY 03 - ' 0 0 0 0 0
_011Y 03 33 0 0 0 0 5887
_coUNTY 03 45 0 0 0 0
comm/1110 ENTRY .~.==> .
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5 MORE - +
-0P1 SPLoYER______~_.~_11»4___12-1_12-2_ _12-3_12*4_ _,'13-1_
1 LYONS v~EL ' 22 0 0 0
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DATE 04/13/13 311113 103N113101110N 11330113 311)`1 "
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3311:1* 0992 ' LA1331 013 011 FILE 13 20124 `
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PROTECT|VE ORDER ' PCC-03372

  
  

Case 2:17-cr-OO732-SJO Document 62-2 Filed 05/21/18 Page 15 of 16 Page |D #_:,38_5,___,__

~ D/Aw.182013/ ?: 06PM STATE IDE_NTIFICATION RESULTS

TIME 09 10 52

SSN: -4`189 »

‘\_,f ST: __

COMMAND ENTRY ===>

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_TARGET cOR _ 5674 4800

_STATE STRE '0 0

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STAIE IDENTIFICATION RESULTS

DATE- 04/18/13
TIME! 09213!50

SSN:” 3387

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LATEST QTR ON FI`LE 13
THE ssN YoU ENTERED HAS wAGEs IN THE FOLLOWING STATES:

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LATEST QTR ON FILE IS .

SN0.6736 P. 12
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THE SSN YOU ENTERED HAS WAGES IN THE FOLLOWING STATES'

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1 `PT _____,EMPLOYER

COMMAND ENTRY ===>
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ssN:QM 0894 ST= CA

1le 0 , 1NQU1RY wAGE INFORMATION
:HQWQ ST: cA,

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INQUIRY wAGE INFORMATION'

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OPT __,____EMPLOYER____,_____,_ __11-4_12-1,
_PERFORMANC l 2613 2208
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:SIERRA OFF 6736 7065

COMMAND ENTRY ===>

INHz 2862 ST' CA

OPT MPLOYER _11~4_ F12-10
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:ESEATON PR 5601 4340 '

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j ”OMMAND ENTRY ===>

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\>/SSN' 7109 ST
dr EMPLOYER .__ __

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:STATE OF C

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INQUIRY WAGE INFORMATION

INQUIRY WAGE INFORMATION

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19489 18803

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Case 2:17-cr-OO732-S.]O Document 62-2 Filed 05/21/18 Page 16 Of 16 P‘age |D #;,38_6________._,,__,_

- D;Apr. 18. 2013/12:06PM STATE IDENTIFICATI N RESU .
TIME: 09:10:28 0 LTS §13§7161)73§1 P` 13
SSN: * 9553 LATEST QTR `oN FILE 13 20124,

é, \ THF. SSN YoU ENTERED HAS wAGEs ` IN'THE -FOLLOWING sTATES:
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SSN; 0996 ST: cA 0 MoRb/:lafl§

OPT ' EMPLOYER_,__ __11"4_ ___112°1_ __12‘*2__ ___12~3___ -__12_4__, _13-1_
o o~ - o 1943

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COMMAND ENTRY :""> INQIJIRY wAGE INFORMATION 09 03 42Mg4/18/13

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SSN EMI§?,S$E§L______l __12-1__,12'-2__ ___12-'3_ ___12~4,_ _,13'-1_
ADESA CAL116595 5776 5881 5714 7631

{ .‘==~S : : ~ 13
COMMAND ENTRY > INQUIRY wAGE INFommIoN 09 14 16 Mg4/13f + _

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,? §§§WHHQ ST CA H 12_112,2_ _12_3. 1_2“4 __13-
g E LOYEL____._»- 16268 6531 "_16280 6880 “°7074 _ 4

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OPT
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09:16:;§ 34/18/13

C?NMI.QD E.NTR-Y :=:> INQUIRY wAGE INFORMATION MRE
SSN 8035 SRT, CA.11-4_2-1 12»2_ __12~3_12-4_ ,_13~1_
OP§EN';RAL c§MPLOYE _'16086 _'17253 1467 7442 6623
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PROTECTl\/E O_~RDER , P¢c_om

